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                                             August 26, 2022

Honorable Robert B. Kugler
United States District Court - District of New Jersey
Mitchell H. Cohen Building & U.S. Courthouse
4th and Cooper Streets
Camden, NJ 08101

                   Re:       Untied States of America v. Thomas Sher
                             DocketNo. 1:19-cr-00191-RBK-6
                             Megan Sher - Department of Justice Subpoena ad Testificandum

Dear Judge Kugler:

        I have been retained to represent Megan Sher, the spouse of the Defendant Tom Sher
currently in a criminal trial proceeding before Your Honor. The prosecution has subpoenaed
Mrs. Sher for testimony during this trial.

        The Court should understand that Mrs. Sher was a last-minute addition to the prosecution
witness list on the date of the Pretrial Conference. Mrs. Sher has never been requested to be
interviewed by the Department of Justice as a witness in the many years that this matter has been
pending for trial. It appears that this last-minute decision by the prosecution is nothing more
than a pressure tactic designed to put pressure on Mr. Sher. Further, on August 25, 2022, the
Prosecutor singled Mrs. Sher out and requested that she leave the courtroom. Other subpoenaed
witnesses were knowingly permitted by the prosecutors to remain in the courtroom. As such, it
appears Mrs. Sher is being excluded to attempt to prejudice the jury against her husband the
Defendant Tom Sher.

         More impmiantly, I am filing simultaneous with this correspondence a Motion to Quash
the Subpoena ad Testificandum for Megan Sher based upon Spousal Privilege under Federal
Rules of Evidence 501. In this respect the Prosecutor has provided me with a proffer for the
testimony they intend to elicit from Mrs. Sher. They have specifically indicated "we intend to
elicit information about her obtaining and receiving compound prescription medications". (See
attached as Exhibit A).

        Mr. Sher is being prosecuted for criminal offenses that involved the obtaining and receipt
of certain compound prescription medications. Given the proffer provided, I on behalf of Mrs.
Sher asserted her Spousal Privilege not to testify against her husband.
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